Case 5:19-cv-05025-TLB Document 66-1                   Filed 09/14/20 Page 1 of 8 PageID #: 437



                           SETTLEMENT AGREEMENT AND RELEASE

          This Settlement Agreement and Release ("Agreement") is effective this 10th day of

September 2020 and is by and between Sean Harrison ("Plaintiff"), individually and as

representative of those similarly situated who filed Consents to Join Collective Action, and

Hog Taxi, LLC ("Hog Taxi"), Melissa Reynolds, and Tim Reynolds ("Defendants"). Those who

filed Consents to Join Collective Action are referred to as "Opt-in Plaintiffs."

          WHEREAS, Plaintiff has asserted claims against Defendants relating to his working

relationship with Defendants, by filing a lawsuit against Defendants in the United States District

Court for the Western District of Arkansas, Case No. 5:19-cv-05025-TLB ("the Action"); and

          WHEREAS, Defendants have denied Plaintiff's allegations and have denied liability for the

claims asserted in the Action; and

          WHEREAS, the parties, as a result of negotiations on their behalf by their respective

counsel, have agreed to settle any and all claims between the parties, in order to avoid the

expense, delay and risk of litigation.

          WHEREAS, this agreement is made as a compromise between parties for the complete,

and final settlement of the claims, differences and causes of actions raised by Plaintiff in this

Action.

                                             RECITALS

          The parties recite the following procedural facts that predate this Agreement:

          On February 7, 2019, Plaintiff filed his initial Complaint against Defendants alleging

violations of the Fair Labor Standards Act, and the Arkansas Minimum Wage Act, Ark. Code Ann.

§ 11-4-201, et seq. Thereafter, their Complaint was amended on two occasions.

          On May 20, 2019, Defendants filed their Answer to the Second Amended Complaint

denying all allegations of the Complaint and asserting certain defenses.

          On June 12, 2020, the parties participated in mediation conducted by U.S. Magistrate

Judge Mark Ford. After balancing the benefits of settlement with costs, risks, and delay of



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Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 2 of 8 PageID #: 438
Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 3 of 8 PageID #: 439
Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 4 of 8 PageID #: 440
Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 5 of 8 PageID #: 441
Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 6 of 8 PageID #: 442
Case 5:19-cv-05025-TLB Document 66-1   Filed 09/14/20 Page 7 of 8 PageID #: 443
Case 5:19-cv-05025-TLB Document 66-1                Filed 09/14/20 Page 8 of 8 PageID #: 444



that this Agreement may be signed in multiple counterparts, each of which is an original. Should

multiple counterparts exist, they will be provided to all Parties for their records.

        26.     This Agreement is deemed to have been drafted jointly by the Parties and, in the

event of a dispute , will not be construed in favor of or against any Party by reason of that Party's

contribution to the drafting of this Agreement.

        WHEREFORE, the partie s have affixe d their signature s be low to acknowledge their

 agreement with the above provisions.

 Date d: Se pte mbe r 10, 2020



 Sean Harrison, Named Plaintiff




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